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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

         v.                                           Case No. 21-cr-378-TJK-4

 KEVIN A. TUCK,

              Defendant.


                     GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                        PURUSANT TO LOCAL CRIMINAL RULE 49

         The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following exhibits that will be provided to the Court and defense

counsel, in relation to the government’s sentencing memorandum. These exhibits will be offered

into evidence during the sentencing hearing.

  Exhibit           Length                               Description
    A                0:54      Open source video depicting events on northeast side of the
                               Capitol at approximately 2:16 p.m.
     B               7:17      Open source video depicting events at East Rotunda Doors at
                               approximately 2:40 p.m.
     C               1:16      Open source video depicting events at East Rotunda Doors at
                               approximately 2:40 p.m.
     D               0:39      Open source video depicting events inside East Rotunda Doors
                               shortly after 2:40 p.m.
     D               0:34      Open source video depicting events inside gallery of Senate
                               Chamber at approximately 2:43 p.m.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY


                                      BY:       /s/ Jason McCullough
                                               JASON B.A. MCCULLOUGH
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